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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                    District of Columbia           IE]

                  United States of America                     )
                             Plaintiff                         )
                                V.                             )      Case No.    1:21-CR-623 (CRC)
                     KIRSTYN NIEMELA                           )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         KIRSTYN NIEMELA


Date: - ~0~9~/2~8~/2~0=2~2 __                                                              /S/ Paul J. Garrity
                                                                                           Attorney ·s signature


                                                                                    Paul Garrity, Bar# 905 (NH)
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